               Case 4:04-cr-40039-JPG                    Document 595 Filed 12/19/06                       Page 1 of 6           Page ID
%A0 2458      (Rev. 06105) Judgment in a Criminal Case
                                                                   #1291
              Sheet 1




                        SOUTHERN                                 District o f                                   ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             v.
                  LORAN R. ROBISON
                                                                         Case Number:           4:04CR40039-012-JPG

                                                                         USM Number: 06823-025
                                                                          Turner Rouse
                                                                         Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)          1, 6 & 7 of the! Fourth Superseding Indictment.
                                                                                                                         -&r-

   pleaded nolo contendere to count(s)                                                                CI
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
                                                                                                                 -'%      -/(    =*t'p
The defendant is adjudicated guilty of these offenses:                                                            @' '          G40,1
Title & Section                  Nature of Offense                                                           Oflense Ended                Cuunr

                                   500 Grams or More of Mixture Containina Methatnohetarnin



       The defendant is sentenced as provided in pages 2 through             '0            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States anomey for thls distnct withln 30 da s of any change of name, rcs/dencc,
or rnaihn address untilall fines, resnmtion, costs, and speclnl assessments ~mposcdby thls judgment arc ti~fiyp i d . If ordered t o pay restitution,
the dzfenknt must notlfy the court and United States attorncy of material changcs in economic circumstances.




                                                                          J. Phil Gilbert                                  District
                                                                         N a n o f Judge                                  Title ofJudge
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A 0 245B      (Rev. 06105) Judgment in Criminal Case
              Sheet 2 -Imprisonment

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DEFENDANT: LORAN R. ROBISON
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                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 332 months. This tenns includes a sentence of 332 months on Count 1 and 240 months on Counts 6 & 7 of the Fourth
 Superseding Indictment. All Counts to run concurrent with each other. The 332 month term on Count 1 includes credit for
 time Sewed of 28 months in related state case number 00-CF-411 in Circuit Court, Williamson Co. & 04-CF-209 in Franklin.

      @ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program



      I;d The defendant is remanded to the custody of the United States Marshal.
          The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL



                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 -Supelvised Release

 DEFENDANT: LORAN R. ROBISON
                                                                                                            Judgment-Page
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                                                                                                                            3         of
                                                                                                                                                10
 CASE NUMBER: 4:04CR40039-012-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant sball be on supervised release for a term of :

 10 years on Counts 1, 6 & 7 of the Fourth Superseding Indictment. All Counts to run concurrent with each other



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Cbeck, if applicable.)
@ The defendant sball not possess a fream, ammunition, destructive device, or any other dangerous weapon. (Cbeck, if applicable.)
@ The defendant sball cooperate in the collection of DNA as directed by the probation officer. (Cbeck, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Cbeck, if applicable.)
    If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o f l ~ a ~ m e nsheet
                           t s of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant sball not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant sball report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
   3)      the defendant sball answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adfninister any
           controlled substance or any parapbemalla related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
  10)      the defendant shall p e p i t a probation officer to visit him or her at any time at home or elsewhere and sball permit confiscation of any
           contraband observed m plaln view of the probahon officer;
  11)      the defendant sball notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robat~onofficer, tbc Gefeodant shall notlfy,third panics of risks that nuy bc occasioncd by thc dcfendanr's criminal
           record or           h ~ s t o vor charactcnst~csand shall perm~tthe prohanon officer to m a k t such notlficat~onsand to confirm the
           defendant s compliance w~chsuch notification requirement.
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A 0 245B   (Rev. 06105) Judgment in a Criminal Case             #1294
           Sheet 3C - Supervised Release

DEFENDANT: LORAN R. ROBISON
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of Supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X Defendant shall submit within 15 days, not to exceed 52 days in a one year period for drug urinalysis.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #1295
           Sheet 5 -Criminal Monetary Penalties
                                                                                                          Judgment- Page   5
DEFENDANT: LORAN R. ROBISON                                                                                                - of
                                                                                                                                         10

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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                            -
                                                                            Fine                                 Restitution
TOTALS             $ 300.00                                              $ 500.00                              $ 0.00



     The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (A0245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
     the pnority order or percentage payment columnxelow. However, pursuant to 18 Js.8.5 366461, all nonfederal v~ctimsmust be p a ~ d
     before the United States is pa~d.

Name of Pavee                                                                                      Restitution Ordered Prioritv or Percentage




TOTALS                                $                          0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @ The c o w determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the          I$     fine     C7 restitution.
           the interest requirement for the           fme               restitution is modified as follows:



* Findings for the total amount of losses are re uiredunder Chapters 109A, 110, I IOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 -Schedule of Payments
                                                                 #1296
                                                                                                       Judgment-   Page     6     of         10
DEFENDANT: LORAN R. ROBISON


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     l;d Lump sum payment of $                              due immediately, balance due

                 not later than                                 , 01
                 in accordance                C,      D,          E, or   17 F below; or
B          Payment to begin immediately (may be combined with             C,      17D, or       IJ F below); or
C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     17 Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     l;d Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered othmvise, if this jud mrnt imposes i m p r ~ s o n r n e n tofcrurunal
                                                                                                   ,~~       monetary penalties isdue durin
                               Y
~rnpnsonmmt. All cnmina moneta penalties, except fhose payments made throug~ e Federal Bureau of Pnsons' Inmate ~ i n a n v l i
Responsib~lityProgram are made t o x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
